                Case 2:11-cr-00070-RAJ Document 469 Filed 04/20/17 Page 1 of 3




 1                                                                       The Hon. Richard A. Jones
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 7                          UNITED STATES DISTRICT COIIRT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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      LINITED STATES OF AMERICA,                               No. CRl l-070-RAJ
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                              Plaintiff.
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13                                                             NOTICE OF APPEARANCE OF
      ROMAN VALERYEVICH SELEZNEV,
t4                                                             ADDITIONAL COUNSEL FOR THB
                           Defendant.                          UNITED STATES
l5
t6
l7          PLEASE TAKE NOTICE that Assistant United States Attorney C'AUSA)
l8 Michelle     Jensen hereby appears on    behalfofthe United States, for the specihc purpose of
l9 litigating   the forfeiture aspects of this case. Going forward, please serve copies of all
20 pleadings, court documents, and correspondence on AUSA Michelle Jensen at:
2t
22
                              MICHELLE JENSEN
                              Assistant United States Attorney
23                            United States Attorney's Office
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                              Seaftle, WA 98101-1271
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                              M ichel le.Jensen@usdoi.gov
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     Notice ofAppearance - I                                                 UNITED STATES AT'I'ORNEY
     U.S. v. Seleznev. CR I l-070-RAJ                                                        SUlrE5220
                                                                            7OO STEWART STREET,
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                                                                                    (206)s53-7970
              Case 2:11-cr-00070-RAJ Document 469 Filed 04/20/17 Page 2 of 3




 I          DATED tnis         *        aay   of April, 2017.
 2                                                     Respectfu   lly submitted,
 J                                                     ANNETTE L. HAYES
 4
                                                       United States Attorney

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     Notice ofAppearance - 2                                                        TJNTIED STATES ATTORNEY
     U.S. v. Seleznev, CR I l-070-RAJ                                                                    5220
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                                                                                     SEATTLE, WASIUNGToN 98 I OI
                                                                                            (206) 553-7970
              Case 2:11-cr-00070-RAJ Document 469 Filed 04/20/17 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE
 2

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             I hereby certify that on   Aprrlfu   .2017. I electronically filed the foregoing
     Notice with the Clerk of the Court using CM/ECF system, which automatically serves the
 4
     parties of record.
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                                                  WM
                                                  MICHELLE JENSEN, WSBA #366I1
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      Noticc of Appcarancc - 3                                               UNITED STATES ATTORNEY
      U.S. v. Seleznev. CR11-070-RAJ                                        700 STEwAnr STREET. SLIIE 5220
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